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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

AUDI OF AMERICA, INC. An Organizational Unit
of Volkswagen Group of America, Inc.,
A New Jersey Corporation,

Plaintiff/Counterclaim-Defendant,

Vv.

BRONSBERG & HUGHES PONTIAC, INC. d/b/a
WYOMING VALLEY AUDI, a Pennsylvania
Corporation,

Defendant,
and

NORTH AMERICAN AUTOMOTIVE
SERVICES, INC., an Illinois Corporation;
NAPLETON WYOMING VALLEY IMPORTS,
LLC, an I}linois Limited Liability Company;
MILLENNIUM HOLDINGS, IV, LLC, a
Pennsylvania Limited Liability Company;
NAPLETON INVESTMENT PARTNERSHIP, LP,
an Illinois Limited Partnership; and EFN
WYOMING VALLEY PROPERTIES, LLC, an
Illinois Limited Liability Company,

Intervenor-Defendants/
Counterclaim-Plaintiffs.

 

 

Case No. 3:16-cv-02470-JEJ-
MCC

Napleton’s Memorandum Of Law In Opposition
To Audi’s Motion To Dismiss Napleton’s Counterclaims And In Support Of
Napleton’s Cross-Motion To Amend Its Intervenor Complaint
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introduction

Intervenor-Defendants/Counterclaim-Plaintiffs North American Automotive

Services, Inc. (“‘NAAS”), Napleton Wyoming Valley Imports, LLC (“NWVI”),

Millennium Holdings IV, LLC (“MH4”), Napleton Investment Partnership, LP

(“NIP”), and EFN Wyoming Valley Properties, LLC (“EFN Wyoming Valley”)

(collectively, “Napleton”) hereby respond to Plaintiff/Counterclaim-Defendant Audi

of America, Inc.’s (“Audi”) Motion to Dismiss Napleton’s Counterclaims.

The four issues for resolution on this motion and cross-motion are

straightforward:

1.

The Pennsylvania Dealer Act prohibits manufacturers from
unreasonably withholding consent to the sale of a franchise to a
qualified buyer, or from waiting more than 75 days to reject a deal or to
exercise a right of first refusal (CROFR”). Audi withheld consent from
Napleton, a qualified buyer, because of Audi’s animosity toward
Napleton over a California class action involving an emissions “defeat
device,” and Audi’s 75 days to formally reject the deal or exercise its
ROFR has long expired. Has Napleton properly stated claims under
Pennsylvania law?

Tortious interference claims must plead: (i) a contract, (ii) the defendant
purposefully harmed the contract, (iii) absence of privilege or
justification, and (iv) legal damage to plaintiff. Audi has improperly
attempted to: (a) coerce other manufacturers to kill the Asset and Real
Estate Purchase Agreement (“APA”), and (b) coerce Defendant
Bronsberg & Hughes Pontiac, Inc. d/b/a Wyoming Valley Audi
(“Wyoming Valley”) to kill the Membership Interest Purchase
Agreement (“MIPA”). As a result, Mazda has since rejected Napleton,
the APA has yet to close, and Napleton has lost potential sales and
profits. Has Napleton properly stated tortious interference claims?

The Noerr-Pennington doctrine protects parties who petition the
government for redress through governmental action, but does not

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apply to private commercial activity. Napleton’s counterclaims arise
from Audi’s private conduct toward Napleton, Wyoming Valley, the
other manufacturers, and other buyers, as Audi has sought to upend the
entire APA through tortious interference and violations of the
Pennsylvania Dealer Act. Does the Noerr-Pennington doctrine bar
Napleton’s counterclaims?

4. | Under Rule 24, intervention is proper if the intervening parties have
claims that share common questions of law or fact with the main action.
“Napleton” has been involved with this action since March and has
already been recognized to be a proper intervenor, but “Napleton”
operates through multiple entities and affiliates who own the legal
rights affected by this action, and their claims won’t expand the action’s
scope. Should the Napleton-affiliates be permitted to be added to the
action?

As discussed herein, Audi’s motion to dismiss should be denied in its entirety
and Napleton’s cross-motion to intervene should be granted.

Statement of Facts!

In July of 2016, Napleton and Wyoming Valley came to an agreement whereby
Napleton, through its affiliated entities, agreed to purchase from Wyoming Valley
seven automobile franchises and franchise-related assets located in Luzerne County,
Pennsylvania, including Wyoming Valley’s Audi, Volkswagen, Mazda, Porsche,
BMW, Subaru, and Kia franchises (the “APA”). (Counterclaim [J 22, 54.) Closing
of the APA is conditioned upon all manufacturers involved approving the deal.

(Counterclaim { 65.)

 

! Unless otherwise noted, all facts herein come from Napleton’s Counterclaims,
which must be taken as true on a motion to dismiss and given every favorable
inference. Nationwide Life Ins. Co. v. Commonwealth Land Title Ins. Co., 579 F.3d
304, 307 (3d Cir. 2009).
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Pursuant to the APA, Napleton, through its affiliate EFN Wyoming Valley,
also committed to purchase a parcel of real estate located at 1492 Highway 315,
Plains Township, Luzerne County, Pennsylvania (the “Relocation Property’’).
(Counterclaim J 55.) The Relocation Property, owned by MH4, would transfer to
EFN Wyoming Valley upon the APA’s closing. (Counterclaim {[] 56-57.)

The Relocation Property is the planned home of a brand-new, state of the art,
exclusive Audi sales facility constructed according to all of Audi’s design standards.
As part of the deal, the Wyoming Valley Audi dealership would move to the
Relocation Property upon completion of the facilities there. (Counterclaim ff 58-
59.) Audi conditionally approved this planned relocation in a letter to Wyoming
Valley and a Relocation Agreement dated August 12, 2016. (Counterclaim § 59.)

In October 2016, Wyoming Valley determined that the Relocation Property
construction project was in danger of losing its funding, which put the entire
Napleton-Wyoming Valley deal at risk. (Counterclaim J 61.) To save the transaction,
Napleton affiliate NIP agreed to step in and fund construction in exchange for the
membership interests of MH4. This was memorialized in the Membership Interest
Purchase Agreement (the “MIPA”), executed in December, 2016. (Counterclaim {J
62-63.)

On September 14, 2016, Wyoming Valley had previously submitted for

approval an executed copy of the APA to Volkswagen Group of America, Inc. (“WW
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Group”), which includes Audi among its unincorporated business divisions.
(Counterclaim $f] 15, 66.) From then up until the time Audi initiated this action,
Wyoming Valley communicated with VW Group on several occasions to discuss and
request assistance in compiling, preparing, and submitting a formal application to
obtain Audi’s approval of Napleton’s proposed acquisition of the Wyoming Valley
Audi dealership. (Counterclaim { 67.)

But Audi was not forthcoming with its approvals. Audi concocted reasons to
withhold its approval and thereby block the APA from closing. First, Audi falsely
accused Wyoming Valley of breaching its franchise agreement with Audi by offering
to sell the Wyoming Valley Audi dealership as part of a packaged transaction, even
though bundled transactions are commonplace in the industry, and even though Audi
had approved the sale of the Wyoming Valley Audi dealership as part of a packaged
transaction in the past. (Counterclaim {J 68-70.)

Next, Audi claimed that it was entitled to a breakdown of the purchase price
and other terms of the APA attributable to the Audi dealership so that Audi could
“evaluate” whether to exercise a right of first refusal on the Audi franchise, despite
the fact that neither the franchise agreement between Wyoming Valley and Audi nor
the Dealer Act afforded Audi such an entitlement. (Counterclaim § 71-72.) Audi also
suggested that Napleton and Wyoming Valley “withdraw([ ] the APA” in its entirety.

(Counterclaim { 73.)
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It became manifest that Audi’s refusal to approve was part of an effort to
upend the entire transaction. Audi’s conduct was revealed when Napleton affiliates
opted out in the California class action involving the emissions defeat device.
(Counterclaim §§ 14, 22). Specifically, Napleton affiliates owned multiple
Volkswagen dealerships when it became public that Volkswagen AG, along with its
Audi subsidiaries and affiliates, engaged in a years-long effort to defraud the public
and emissions regulators regarding the fact that “clean diesel” vehicles, including
models sold under the Audi brand, actually emitted pollutants in amounts far
exceeding legal limits (the “TDI Scandal”) (Counterclaim {ff 15-18.) The Napleton
affiliates elected to opt-out of the class action settlement, and their TDI Scandal case
proceeds. (Counterclaim J] 19-20.) As a result, Audi embarked on its wrongful
conduct here in Pennsylvania and seized upon Napleton’s proposed acquisition of
Wyoming Valley’s dealerships to get even.

In the face of Audi’s retaliatory behavior, Napleton and Wyoming Valley
sought to obtain Audi’s approval for the proposed transaction. To that end, on
November 17, 2016, Napleton and Wyoming Valley provided a good faith
breakdown of the blue sky purchase price ($8 million) for Audi as a stand-alone
franchise, when stripped of the obligations and liabilities attendant to the package
deal. (Counterclaim [{ 62, 74-75.) But two weeks later, Audi’s counsel indicated that

Audi disagreed with the $8 million allocation, again accused Wyoming Valley of
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breaching its franchise agreement with Audi, and again insisted upon withdrawal of
the APA. (Counterclaim § 77.)

Rather than parse the terms of the Audi transfer, on December 13, 2016, Audi
sued Wyoming Valley and concurrently moved for a temporary restraining order and
preliminary injunction to kill the entire APA. (Counterclaim {{] 78-79.) Even though
Audi knew Napleton’s contracts were affected and that Napleton thus had a
significant interest in the litigation, Audi purposefully refrained from naming
Napleton as a party, which had the intended effect of inhibiting Napleton’s ability to
protect its APA-related contract rights. (Counterclaim § 80.) Audi has admitted its
ill-will and contempt toward Napleton in its Amended Complaint, in which Audi
alleges that Napleton is not “among the organizations that . . . (Audi) would chose
to succeed Wyoming Valley as an Audi dealer.” Vd. (citing Amended Compl.  53).)

It became apparent that Audi’s approval would never be forthcoming.
Accordingly, on December 22, 2016, Wyoming Valley and Napleton executed a First
Addendum to the APA, which removed the Audi assets from the transaction entirely.
(Counterclaim {J 83-84.) But despite the agreement to carve Audi out of the APA,
Audi refused to withdraw its Motion for Temporary Restraining Order (“TRO”) and
Preliminary Injunction or dismiss its case. (Counterclaim ¥ 83-85.) In effect, Audi
continued on its path to interfere with the APA, harm Napleton, and frustrate

Napleton’s ability to engage in business in the Luzerne County area.
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On December 22, 2016, this Court issued the requested TRO, which it later
converted into a preliminary injunction that enjoined the closing of the entire APA—
not just with respect to the Audi assets, but also with respect to all other of Wyoming
Valley’s dealership assets. (Dkt. Nos. 16, 22, 30, 28; Counterclaim {J 86-88.) On
Audi’s motion to extend the preliminary injunction, the Court later scheduled a
hearing for June 28, 2017. (Dkt. No. 147.)

In the interim, Audi undertook further acts to harm Napleton and interfere with
its contract with Wyoming Valley and its prospective business relationship. For
instance, in an attempt to coerce other manufacturers to pull out of the APA, Audi
pressured them to turn away from Napleton, even though all manufacturers (except
for Audi and Volkswagen) had already conditionally approved Napleton’s
acquisition of their respective franchises from Wyoming Valley. (Counterclaim 7
89.) Audi’s tactics worked: just weeks ago (during the pendency of this motion), on
September 29, Mazda informed Napleton that it had rejected the proposed sale of
Wyoming Valley Mazda to Napleton, noting that Napleton’s “situation with
Volkswagen and Audi” is “not fully resolved.” See Declaration of David N. Wynn,

Esq., dated October 25, 2017 (“Wynn Decl.”), Exh. A?

 

2 Unknown at this time and to be the subject of discovery in this action is what
communications and acts Audi undertook with other manufacturers to upend the
deal. Furthermore, upon information and belief, Audi secretly shopped the entire
seven-franchise transaction to other dealers, even though Audi’s rights are limited
to the Wyoming Valley Audi franchise. (Counterclaim { 104.)

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Audi also held the move of Wyoming Valley’s Audi franchise to the
Relocation Property hostage. In a May 22, 2017 letter, Audi revoked its prior
approval of the relocation and stated that it would be “willing to consider and accept
a new request from Wyoming Valley to relocate its Audi dealership . . . to the
Relocation Property,” conditional on the requirement that “the improper dealings
and transactions between Wyoming Valley and Napleton be unwound.” The
“improper dealings” Audi references include the APA and the MIPA. (Counterclaim
44] 91-92; Wynn Decl., Exh. B.)

The letter was designed to not only harm Napleton, but also to create a rift
between Napleton and Wyoming Valley, cause a breach of the APA and the MIPA,
and harm Napleton’s investment in the Relocation Project. The letter, along with
Audi’s conduct as described therein, reveal that Audi’s conduct is not motivated by
the merits of the transactions, but by Napleton’s part in them.

These facts underpin three statutory claims and five common law tort claims
of contract interference, interference with prospective contractual relation, and abuse
of process. Simply put, Audi has sought to impair the Wyoming Valley/Napleton
relationship and Napleton’s relationship with the other manufacturers, and Audi did

so out of animus toward Napleton. Napleton’s claims should have their day in court.
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Argument

In reviewing a motion to dismiss, the Court must accept all factual allegations
as true and must construe the complaint in plaintiffs’ favor to determine whether,
under any reasonable reading of the complaint, plaintiffs may be entitled to relief.
Nationwide Life Ins. Co. v. Commonwealth Land Title Ins. Co., 579 F.3d 304, 307
(3d Cir. 2009). “The question is not whether the plaintiff will ultimately prevail;
instead, it is whether the plaintiff can prove any set of facts consistent with the
averments of the complaint which would show the plaintiff is entitled to relief.”
Caldon, Inc. v. Advanced Measurement & Analysis Grp., Inc., 515 F. Supp. 2d 565,
572 (W.D. Pa. 2007) (citing Jordan v. Fox, Rothschild, O’Brien & Frankel, 20 F.3d
1250, 1261 (3d Cir. 1994)). “Under this standard a complaint will be deemed
sufficient if it adequately puts the defendant on notice of the essential elements of a
cause of action.” /d. at 572—73 (citing Nami v. Fauver, 82 F.3d 63, 66 (3d Cir. 1996)).
Napleton’s counterclaims certainly meet this standard.

I. Napleton has sufficiently pled that Audi unreasonably withheld consent

from approving Napleton, a qualified buyer, and that it failed to reject
the APA or exercise its right of first refusal within 75 days.

A.  Napleton has sufficiently pled that Audi did not consider
Napleton’s qualifications when unreasonably withholding consent.

Section 12(b)(3) of the Dealer Act makes it unlawful for any manufacturer or
distributor to unreasonably withhold consent to the sale of a franchise to a qualified

buyer who meets the manufacturer or distributor’s reasonable requirements. See 63
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PS. § 818.12(b)(3). Napleton alleges in its first claim that Audi unreasonably
withheld consent to the sale of the Wyoming Valley Audi dealership to Napleton.
(Counterclaim J] 106-117.) Napleton alleges that although it was a qualified buyer
meeting all of Audi’s requirements, Audi improperly and untimely responded to
Napleton’s request for approval to be a successor Audi dealer. (Counterclaim Ff 108-
110.)

Audi seeks dismissal of the 12(b)(3) claim on the grounds that because the
Audi franchise was removed from the APA, “there was no proposed transaction for
AoA to consent to by any statutory deadline.” (Audi Br. at 10.) This argument is
unavailing for three reasons. First, Audi improperly advances a factual argument in
support of dismissal. Second, section 12(b)(3) has no statutory deadline. Third, Audi
ignores the fact, as alleged, that Audi openly stated it would not do business with
Napleton. This, on its face, this makes out a prima facie claim of unreasonable
withholding of consent. Audi even compounded its statutory violation by suing
Wyoming Valley for breach of its franchise agreement precisely because Wyoming
Valley proposed to sell to Napleton. The essence of the 12(b)(3) claim is that Audi’s
withholding consent to Napleton’s request for approval was retaliation for the valid
exercise of legal rights against Audi’s sister brand in the TDI Scandal lawsuit.

(Counterclaim Ff 15-20, 111.)

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B.  Napleton has sufficiently pled that Audi failed to reject the APA
within 75 days.

Section 12(b)(5) makes it unlawful for any manufacturer to fail to respond in
writing to any request for consent to the sale of a franchise within 60 days of receipt
of a written request. See 63 P.S. § 818.12(b)(5). (Counterclaim {ff 173-186.) Section
12(b)(5) also provides that the 60 day time period may be extended by no more than
an additional 15 days if supplemental information is requested in a timely manner.
63 PS. § 818.12(b)(5). But “(2 no event shall the total time period for approval
exceed 75 days from the date of the receipt of the initial forms.” Jd. (emphasis
added).

Here, Napleton alleges Audi clearly violated the statutory deadline. Napleton
alleges that it electronically submitted, and Audi received, the initial application for
approval of the proposed sale of the Wyoming Valley Audi franchise on October 4,
2016. (Counterclaim § 176.) At most and by statute, Audi had 75 days—auntil
December 19, 2016—to reject the proposed APA or exercise any existing ROFR,
and its failure to do either violated the Dealer Act. (Counterclaim ff 180-181.) Audi
did not meet the unambiguous statutory deadline and reject the APA or exercise any
ROFR by December 19, 2016. Accordingly, this claim is stated. While Audi claims
the statutory 75-day deadline was extended to December 29, 2016 on consent (a

factual dispute), the deadline could not be extended by the parties. It is further

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irrelevant because Audi to this day has not exercised its ROFR, well beyond even
that later deadline.

Alternatively, Audi argues that this claim fails because the Audi component of
the sale was removed from the APA. (Audi Br. at 10.) Hence, according to Audi,
there was no “transaction for AoA to consent to by any statutory deadline.” (Audi
Br. at 10.) Audi argues that “Napleton cannot have it both ways,” but Audi ignores
the fact that Audi did not comply with the statutory deadline.’ In effect, Audi attacks
Napleton for proceeding with the sale of the non-Audi franchises even after the
statutory violation occurred. But that does not defeat the claim. More to the point, if
it is Audi’s position that there was no proposed transaction for it to consent to, then
Audi has no more ROFR to exercise and its litigation should have ceased. It is Audi
that cannot “have it both ways.”

Audi further contends that Napleton and Wyoming Valley’s failure to “identify
the terms” to which Audi’s right of first refusal applied “negated” the approval notice
deadlines articulated in Dealer Act section 12(b)(5). /d@. Again, Audi offers a factual
defense not appropriate for a motion to dismiss. In any event, Napleton and
Wyoming Valley did provide a good faith breakdown of the blue sky purchase price

of $8 million for Audi as a stand-alone franchise. (Counterclaim ff 62, 74-75.) Audi

 

3 The Audi franchise was not removed from the APA until December 22, 2016—
days after the December 19, 2016 statutory deadline had passed.

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could have used this information to either exercise its ROFR or reject the APA. It
did neither.

Moreover, the case cited is inapposite. See Volvo Grp. N. Am., LLC v. Truck
Enters., Inc., No. 7:16-CV-00025-EKD, 2017 WL 1483431, at *1 (W.D. Va. Mar.
31, 2017), judgment entered, 2017 WL 1613058 (W.D. Va. Apr. 28, 2017), app. filed
(4th Cir. May 18, 2017). There, the scope of Volvo’s ROFR was at issue—i.e.,
whether the ROFR encumbered the entire proposed sale of a package of dealerships,
or whether it encumbered only the Volvo-related assets in that package. 2017 WL
1483431, at *1~2. After determining that Volvo’s statutory right of first refusal
encumbered only the Volvo-related portions of the deal, the court declared that the
45-day statutory deadline for exercise of that right would not commence until the
seller provided a “completed proposal.” /d. at *13. However, under the Virginia
statute at issue, the receipt of a “completed proposal” was a necessary condition for
a manufacturer’s exercise of its right of first refusal and for the triggering of the
statutory deadline for exercise. See id. at *9.

This is in stark contrast to here, where the deadline is triggered by the initial
application, a request for further information only adds 15 days, and “in no event”
shall the deadline be extended past the 75 days. Audi’s brief essentially asks “what
about this event?” No means no. No event. The time has passed.

Accordingly, Napleton’s Seventh Cause of Action is stated.

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C. Napleton has sufficiently pled that Audi failed to exercise its
ROFR within 75 days.

Napleton’s second claim alleges that Audi a section 16 violation, which
provides:

A manufacturer or distributor shall be permitted to enact a right of
first refusal to acquire the new vehicle dealer’s assets or ownership in
the event of a proposed change of all or substantially all ownership or
transfer of all or substantially all dealership assets if all of the
following requirements are met:

(1) To exercise its right of first refusal, the manufacturer or distributor
must notify the dealer in writing within the 60-day or 75-day time
limitations established under section 12(b)(5).

* Oe OF

(4) The manufacturer or distributor agrees to pay the reasonable
expenses, including reasonable attorney fees which do not exceed the
usual, customary and reasonable fees charged for similar work done
for other clients, incurred by the proposed new owner and transferee
prior to the manufacturer’s or distributor’s exercise of its right of first
refusal in negotiating and implementing the contract for the proposed
change of all or substantially all ownership or transfer of all or
substantially all dealership assets. . . .

63 PS. § 818.16. Section 16(1) incorporates section 12(b)(5)’s mandate that “/i/n no
event shall the total time period for approval exceed 75 days from the date of the
receipt of the initial forms.” 63 P.S. § 818.12(b)(5) (emphasis added).

Here, Audi offers no new argument. As alleged above, Audi failed to exercise
its purported ROFR or otherwise reject Napleton in accordance with the 12(b)(5)’s
time limits. “In no event”—including any event raised by Audi—’shall the total

time” exceed 75 days. This failure also violates Section 16(1).

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In summary, all three of Napleton’s statutory claims are stated. Napleton
alleges Audi failed to consider the transaction on the merits, which failure violated
the Dealer Act and resulted in damages to Napleton.

II. Napleton has sufficiently pled that Audi purposefully set out to upend
Napleton’s contracts and destroy Napleton’s business opportunities.

Napleton also brings five common law tort claims: four for tortious
interference and one for abuse of process.

A.  Napleton has sufficiently pled that Audi tortiously interfered with
Napleton’s existing and prospective relationships.

To prevail on a tortious interference claim under Pennsylvania law, a plaintiff
must plead:

(1) the existence of a contractual or prospective contractual or
economic relationship between the plaintiff and a third party;

(2) purposeful action by the defendant, specifically intended to
harm an existing relationship or intended to prevent a
prospective relation from occurring;

(3) the absence of privilege or justification on the part of the
defendant;

(4) legal damage to the plaintiff as a result of the defendant’s
conduct; and

(5) for prospective contracts, a reasonable likelihood that the
relationship would have occurred but for the defendant’s
interference.

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Advanced Fluid Sys., Inc. v. Huber, 28 F. Supp. 3d 306, 336 (M.D. Pa. 2014)
(citations omitted) (denying motion to dismiss tortious interference claim for failure
to state a claim).

Audi attacks Napleton’s tortious interference claims by justifying its conduct
as being in furtherance of its “efforts to enforce its contractual ROFR” and thus
privileged. (Audi Br. at 12.) This attack fails.

First, in each of its causes of action for tortious interference, Napleton has
alleged that Audi lacked privilege or justification to interfere. (See, e.g.,
Counterclaim §f 131, 142, 157, 169.) In considering this motion to dismiss, the Court
must accept these allegations as true and must construe the complaint in Napleton’s
favor. Nationwide Life Ins. Co., 579 F.3d at 307. Here again, Audi improperly argues
facts. Whether conduct is privileged depends on whether conduct is the type that is
“sanctioned by the rules of the game adopted by society and fall[s] within the area
of socially acceptable conduct ....” Advanced Fluid Sys., Inc., 28 F. Supp. 3d at 338
(M.D. Pa. 2014) (quoting Empire Trucking Co. v. Reading Anthracite Coal Co., 71
A.3d 923, 935-36 (Pa. Super. Ct. 2013)) (internal quotation marks omitted).
Whether Audi’s unlawful and outright malicious conduct, as alleged, is not within
“the rules of the game” is a factual matter inappropriate for consideration at the

pleading stage.

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Second, the cases Audi cites for this position are inapposite, as those cases
involve a party that actually exercised the defined contract right. See, e.g., Crivelli
v. Gen. Motors Corp., 215 F.3d 386, 395 (3d Cir. 2000) (“While GM’s exercise of
its contractual right of first refusal necessarily interfered with the purchase
agreement between Crivelli and Scheidmantel, it does not subject GM to liability for
interfering with their contract.”) (emphasis added) (citation omitted); Schulman v.
J.P. Morgan Inv. Memt., Inc., 35 F.3d 799, 810 (3d Cir. 1994) (“Widener acted in
good faith pursuant to its own reserved, contractual right in the mortgage and loan
documents between it and WALP to oversee the selection of the Widener Building
tenants.”); Barlow v. Brunswick Corp., 311 F. Supp. 209 (E.D. Pa. 1970) (billiard
equipment manufacturer was privileged to interfere with alleged ora! contract
between its promoter and other television producers where the manufacturer,
pursuant to prior contract with the promoter, had paid and was paying the promoter
for the right to use his public image and for the right to designate his public
appearances toward that end); Peoples Mortg. Co. v. Fed. Nat'l Mortg. Ass-n, 856 F,
Supp. 910, 934 (E.D. Pa. 1994) (“The Letter Agreement gave Fannie Mae the right
to seek loan repurchases from Peoples... . Thus, when Fannie Mae sought
repurchases, and by so doing allegedly interfered with Peoples’ prospective contract
with Fidelity, it was seeking to enforce a right specifically granted to it by the Letter

Agreement.”) (emphasis added). In stark contrast here, Audi never exercised its

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ROFR, but instead weaponized the ROFR to try to drive a wedge into between
Napleton and Wyoming Valley and other manufacturers with the goal of killing the
entire seven-dealership transaction and harming Napleton.

Scrutiny of Napleton’s counterclaims demonstrates that Napleton has pled its
causes of action for tortious interference, as follows.

i, Third Cause of Action: Tortious Interference with Contract

Napleton pleads ali the elements of a claim for tortious interference with
contract as to the APA. With respect to element one, Napleton alleges that the APA
is a viable and legally enforceable contract with Wyoming Valley. (Counterclaim {
124.) For element two, Napleton alleges that Audi has purposefully and maliciously
interfered with the APA (even after the Audi franchise was withdrawn from it) with
the intent to harm Napleton by disrupting the entire transaction, including by
coercing other manufacturers to withdraw from the deal and by shopping the entire
transaction to prospective purchasers other than Napleton (even though any rights
Audi has are limited to the Audi franchise). (Counterclaim J 125-130.) For element
three, Napleton further alleges that Audi lacked any privilege or justification to
engage in such conduct. (Counterclaim § 131.) Finally, Napleton alleges that it has
suffered money damages as a result of Audi’s interference, including damages for
lost revenue and profits, as well as for lost opportunities that Napleton could have

pursued and benefitted from but for its extended investment of time, money, and

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resources in the transactions under the APA. (Counterclaim § 132.) Accordingly,
Napleton pleads all essential elements for its Third Cause of Action.

Audi contends that this claim should be dismissed because there has been “no
interference and no damage.” (Audi Br. at 14). This position is factual. Regardless,
the evidence suggests there was actual interference, as we now know that Mazda
rejected the proposed sale of Wyoming Valley’s Mazda dealership to Napleton on
the basis of the unresolved “situation with Volkswagen and Audi.” Wynn Decl., Exh.
A.

ii, Fourth Cause of Action: Tortious Interference with
Prospective Contractual Relations

Napleton states a claim for tortious interference with prospective contracts
with the five non-Audi manufacturers subject to the APA. With respect to element
one, Napleton alleges that it intended to enter prospective dealer agreements with
those five non-Audi manufacturers, which would be valid and legally enforceable
agreements. (Counterclaim § 138.) Napleton also alleges that as a party to those
dealer agreements, it intended to sell and service automobiles and related products
to prospective customers in the Luzerne County area. (Counterclaim 4 139.)

For element two, Napleton alleges that Audi’s conduct was undertaken with
the intent to harm Napleton, including by preventing Napleton from consummating

the transaction with any manufacturer involved. (Counterclaim J 141.) For element

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three, Napleton further alleges that Audi lacked any privilege or justification to
engage in such conduct. (Counterclaim § 142.)

For element four, Napleton alleges that it has suffered money damages as a
result of Audi’s interference, including damages for lost revenue and profits, as well
as for lost opportunities that Napleton could have pursued and benefitted from but
for its extended investment of time, money, and resources in the transactions under
the APA. (Counterclaim § 132.)

For the fifth element, Napleton alleges that upon the closing of the APA
subject to the First Addendum, Napleton would enter into dealer agreements with
the non-Audi franchises to sell and service those manufacturers’ products, and that
Napleton has been prevented from reaping the economic benefits of those
agreements because of Audi’s conduct preventing the APA from closing.
(Counterclaim ff 137-140, 143.) Accordingly, Napleton pleads all essential elements
for its Fourth Cause of Action.

Audi argues that this claim fails because Napleton “has not been prevented
from closing its purchases of the remaining dealerships” and thus has suffered “no
damage.” (Audi Br. at 13-14). This is unavailing, as the fact that the APA may close
is not fatal to the claim. See Kelly-Springfield Tire Co. v. D’Ambro, 596 A.2d 867,
871 (Pa. Super. Ct. 1991) (“It also was not fatal to appellant’s cause of action [for

tortious interference] that an agreement for the sale of the warehouse property was

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ultimately reached ... .”). Further, the claim seeks damages for lost profits and
opportunities resulting from the delays caused by Audi’s conduct. (Counterclaim
132) See Kelly-Springfield Tire Co., 596 A.2d at 871 (“The complaint contains
averments that a resale was unnecessarily delayed by the interference . . . and that
actual damage was caused thereby. This was sufficient.”).

Finally, Audi argues that the claim fails because Napleton has “failed to allege
the identity of a single future customer” lost as a result of Audi’s conduct. (Audi Br.
at 15). This argument misses the mark. Napleton specifically alleges prospective
contracts with the five non-Audi franchises with whom Napleton intended to enter
dealer agreements upon the closing of the APA, (Counterclaim § 132), and that
Audi’s conduct has prevented Napleton from entering those agreements.
(Counterclaim { 143.)

iii. Fifth Cause of Action: Tortious Interference with Contract

Napleton states a claim for tortious interference with two additional
agreements: (1) the APA, with respect to its provision that upon closing, the
Relocation Property will transfer from MH4 to EFN Wyoming Valley, and (2) the
MIPA. (Counterclaim J 146-162.) With respect to the first element, Napleton
alleges that both the APA and the MIPA are viable and legally enforceable
agreements (Counterclaim {J 147, 149), and that Audi purposefully and intentionally

interfered with the APA and the MIPA to harm Napleton, including by requiring that

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the APA and the MIPA be unwound as a condition for re-approval of the relocation
of Wyoming Valley Audi to the Relocation Property. (Counterclaim ff] 148-156.)
Napleton further alleges that Audi lacks any privilege or justification for this
conduct. (Counterclaim {§ 157-159.) Finally, Napleton alleges that it has suffered
money damages as a result of Audi’s interference. (Counterclaim { 150.)

Audi’s predicate for dismissal is that the MIPA has not been unwound, and
because Napleton still intends to complete the MH4-to-EFN Wyoming Valley
transaction when the APA closes, there is no interference and no damages. (Audi Br.
at 16-17). This argument is unavailing because Audi’s efforts to unwind these
agreements resulted in delays, which is a recognized damage. See Kelly-Springfield
Tire Co., 596 A.2d at 871.

With respect to Audi’s argument that this claim fails because it is brought by
nonparties NIP, MH4, and EFN Wyoming Valley, Napleton respectfully refers the
Court to Napleton’s Cross-motion to Amend its Intervenor Complaint.

iv. Sixth Cause of Action: Tortious Interference with Contract

Napleton states a claim for tortious interference with contract as to the existing

and prospective leases between the Relocation Property Owner‘ and dealerships that

 

4 Presently, MH4 owns the Relocation Property. As described herein, upon the
closing of the APA, MH4 will transfer ownership of the Relocation Property to EFN
Wyoming Valley. Therefore, depending on whether the APA has closed or not,
either MH4 or EFN Wyoming Valley is entitled to assert the claims and defenses
alleged in Napleton’s Answer and Counterclaims. See Answer at 2.

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will occupy the Relocation Property subject to the APA. (Counterclaim [¥ 163-172.)
Napleton alleges that both the extant leases and the further leases the Relocation
Property Owner would enter are and will be viable and legally enforceable
agreements. (Counterclaim § 164.) Napleton also alleges that Audi’s conduct—
namely, its request that the “dealings and transactions between Wyoming Valley and
Napleton” be unwound—was a purposeful effort to harm Napleton by invalidating
the extant leases and extinguishing the Relocation Property Owner’s expectation to
enter into further leases with the other dealerships to occupy the Relocation Property.
(Counterclaim FJ 165-168.) Napleton further alleges that Audi lacked any privilege
or justification for its conduct, and that Audi’s efforts to upend existing valid leases
and prevent the entering of further leases have caused Napleton monetary harm.

Audi’s argument here fails for the same reasons described above. See also
Napleton’s Cross-motion to Amend its Intervenor Complaint.

B.  Napleton has sufficiently pled that Audi perverted judicial
process.

Napleton’s states its eighth claim that Audi has abused judicial process with
the improper intent of killing the dealings between Napleton and Wyoming Valley.
Under Pennsylvania common law, “[t]he gist of an action for abuse of process is the
improper use of process after it has been issued, that is, a perversion of it” toward a
result that is not a legitimate objective of that process. 7B. Proprietary Corp. v.

Sposato Builders, Inc., No. CIV. A. 94-6745, 1996 WL 257224, at *1 (E.D. Pa. May

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14, 1996) (quoting McGee v. Feege, 535 A.2d 1020, 1023 (Pa. 1987)) (internal
quotation marks omitted).

Here, Napleton alleges that Audi has issued subpoenas to non-party
manufacturers of other brands involved in the transaction, as well as to actual and
potential lenders of parties to the APA, for the illegitimate purpose of coercing those
manufacturers into revoking their approval of Napleton and Wyoming Valley’s
transaction and dissuading those lenders from providing financing for transactions
related to the APA. (Counterclaim J] 188-192.) The essence of Napleton’s claim is
twofold: (1) that Audi used documents and information obtained pursuant to those
subpoenas to effectuate coercive ends to harm Napleton, (Counterclaim [J 193-196),
and (2) through process such as subpoenas, Audi improperly perverted judicial
process to harm Napleton. (Counterclaim J 199-202). These tactics support an
abuse of process claim. See TB. Proprietary Corp., 1996 WL 257224, at *3 (denying
summary judgment on abuse of process counterclaim where evidence that
counterclaim-defendant’s “conducting depositions to intimidate and coerce litigation
opponents and others, rather than for goodfaith discovery, . . . could demonstrate
perversion of the discovery process”).

In response, Audi contends that its abusive behavior was directed at third

parties instead of Napleton, and argues that Napleton is therefore not entitled to bring

an abuse of process claim. However, Audi used process toward parties other than

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Napleton with the express intent of injuring Napleton. Audi’s efforts were in fact
successful, as evidenced by Mazda’s recent revocation of approval. A claim is stated
because Audi has endeavored to cast Napleton as a pariah and to send a message to
other prospective dealership owners that Napleton is not a party be dealt with. Audi
should not be permitted to skate away from this malicious conduct, and its motion
to dismiss Napleton’s Eighth Cause of Action should be denied.

Til. Audi’s Noerr-Pennington defense does not apply to Napleton’s private
tort and statutory counterclaims,

The Noerr-Pennington doctrine is not an “absolute bar” to Napleton’s
counterclaims, as Audi contends. (Audi Br. at 1.) To be blunt, it is not even relevant
to this case. As alleged, the operative conduct underlying Napleton’s counterclaims
has nothing to do with Audi’s protected “petitioning” activity.

The Noerr-Pennington doctrine protects parties who petition the government
for redress from claims that arise in response to that activity. See Cheminor Drugs,
Ltd. v. Ethyl Corp., 168 F.3d 119, 122 (3d Cir. 1999) (citing Eastern R.R. Presidents
Conference v. Noerr Motor Freight, Inc., 365 U.S. 127, (1961); United Mine Workers
of Am. v. Pennington, 381 U.S. 657 (1965)). Government petitioning includes
seeking relief through the courts. See Cal. Motor Transp. Co. v. Trucking Unlimited,
404 U.S. 508, 510, (1972); see also Prof’l Real Estate Inv’rs, Inc. v. Columbia
Pictures Indus., Inc., 508 U.S. 49, 56-57 (1993). Although Noerr-Pennington
immunity arose in the antitrust context, the Third Circuit Court of Appeals has

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“extended the Noerr-Pennington doctrine to offer protection to . . . petitioning
activities in contexts outside the antitrust area... .” We, Inc. v. City of Philadelphia,
174 F.3d 322, 326-27 (3d Cir. 1999),

However, Noerr-Pennington immunity is narrow and applies to efforts
“directed toward obtaining governmental action.” Noerr, 365 U.S. at 140 (emphasis
added); see also Pennington, 381 U.S. at 670 (“Noerr shields from the Sherman Act
a concerted effort to influence public officials regardless of intent of purpose.”)
(emphasis added); Klatch-Maynard v. Sugarloaf Twp., No. 3:06-CV-845, 2010 WL
5789390, at *5 (M.D. Pa. Nov. 8, 2010) (“[A]n individual is immune from liability
for exercising his or her First Amendment right to petition the government.”)
(emphasis added) (citation and internal quotation marks omitted), report and
recommendation adopted, 2011 WL 532168 (M.D. Pa. Feb. 8, 2011).

In contrast, private commercial activity does not qualify for Noerr-Pennington
protection. See S3 Graphics Co. v. ATI Techs., ULC, No. CV 11-1298-LPS, 2015 WL
7307241, at *15 (D. Del. Oct. 21, 2015) (citing Litton Sys., Inc. v. Am. Tel. & Tel.
Co., 700 F.2d 785, 807 (2d Cir. 1983)) (Noerr-Pennington did not shield conduct
that was not “petitioning the government” but was instead “private commercial
activity, no element of which involved seeking to procure the passage or enforcement
of laws.”) {internal quotation marks omitted); see also U.S. Futures Exch., LLC vy.

Bd. of Trade of City of Chicago, No. 04 C 6756, 2005 WL 2035652, at *1 (N.D. II.

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Aug. 22, 2005) (defendants’ conduct, which included efforts to interfere with
Plaintiffs’ regulatory services agreement with the National Futures Association, had
“nothing to do with Defendants’ petitioning activities and [was] not subject to Noerr-
Pennington.”).

Napleton’s counterclaims do not derive from Audi’s “petitioning” of the
government for redress. Rather, the counterclaims have their genesis in Audi’s
private, commercial conduct directed towards Napleton as private actor who sought
to acquire valuable private contract rights, with which Audi obstructed and
interfered. Three of Napieton’s counterclaims allege Dealer Act violations. These
claims arise out of Audi’s failure to consider and approve a private transaction within
the framework of the Dealer Act. Audi’s conduct in this regard has nothing to do
with petitioning or other activity remotely relevant to Noerr-Pennington. Audi
cannot claim its ROFR shields it from statutory challenge.

As to the business torts counterclaims, those involve conduct towards
Napleton, Wyoming Valley, and additional private entities, as evidenced by, for
example, letters to the parties demanding that their transactions be unwound. Audi’s
tortious acts have nothing to do with petitioning the government, but rather amount
to interference with existing agreements and prospective commercial relationships.

See US. Futures Exch. LLC, 2005 WL 2035652, at *1.

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Nor can Audi argue its conduct is “incidental” to litigation so as to shield it
from liability, because it is not Audi’s litigation that gives rise to Napleton’s claims.
The only relationship to a litigation is to Napleton’s: Audi sought revenge because
Napleton availed itself of a class action opt out. In any event, incidental conduct
“varies with the context and nature” of that conduct. Allied Tube & Conduit Corp. v.
Indian Head, Inc., 486 U.S. 492, 499, 505 (1988) (incidental activity is not protected
by Noerr-Pennington if its “context and nature ... make it the type of commercial
activity that has traditionally had its validity determined by the antitrust laws
themselves”). The two Third Circuit cases Audi cites to support Noerr-Pennington’s
application to incidental conduct involve conduct vastly different from that alleged
here. See, e.g., A.D. Bedell Wholesale Co. v. Philip Morris Inc., 263 F.3d 239, 252
(3d Cir. 2001) (affirming the district court’s grant of Noerr-Pennington immunity,
concluding that cigarette manufacturers’ settlement with state attorneys general was
“akin to petitioning the government.”); accord Magnetar Techs. Corp. v. Six Flags
Theme Parks Inc., No. CIV.A. 07-127-LPS, 2011 WL 678707, at *2, n.1 (D. Del.
Feb. 18, 2011) (applying Noerr-Pennington to bar a claim alleging conduct in
bringing the lawsuit, as well as pre-litigation letters advising other entities that they
potentially infringe the patents-in-suit, in and of itself amounted to an effort to

control the market for the patent at issue).

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Noerr-Pennington simply does not apply here. There is no petitioning activity
and no governmental interest relevant here. Napleton’s counterclaims invoke private
party activity that violates statutory obligations and Pennsylvania common law.

IV. The Napleton Affiliates Are Proper Parties to this Action.

In support of dismissal, Audi argues that the Intervenor pleading seeks relief
on behalf of certain Napleton A ffiliates—Napleton Wyoming Valley Imports, LLC;
Millennium Holdings IV, LLC; Napleton Investment Partnership, LP; and EFN
Wyoming Valley Properties, LLC-—who are not parties to this action. Napleton
submits that this Court should grant leave to amend nunc pro tunc to allow these
additional Napleton Affiliates so that this Intervenor pleading can render complete
relief as to all parties. Under Rule 24, the parties are properly joined if their claims
share a common issue of law or fact with the main action; here, the Napleton
affiliates’ counterclaims are fully entwined with the issues raised by the claims in
Audi’s complaint and Wyoming Valley’s counterclaims. There would be no
prejudice to Audi in granting leave, since Audi has been on notice of these claims.
And main-case discovery, while on-going, has already encompassed these claims.
Indeed, the scope of these proceedings would not be expanded at all by this
intervention; this is simply to add the proper parties. As this Court itself has
recognized, “Napleton exp/icitly revealed its intention to file counterclaims... and

the general substantive nature of those claims. They were well within the

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contemplation of all parties as we discussed logistics and scheduling of this matter
moving forward.” (Dkt. No. 275 at 8.)

Should the amendment not be granted, it would subject the Court and the
parties to additional proceeding at further expense, as the Napleton affiliates would
be required to commence a second duplicative action, thereby consuming additional
unnecessary judicial resources. Accordingly, the motion for leave to amend should

be granted.

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Conclusion

Napleton’s eight counterclaims are sufficiently pled. Audi is alleged to have
violated clear statutory provisions of the Pennsylvania Dealer Act according to its
terms, and is alleged to have attempted to interfere (and with respect to Mazda, has
succeeded in interfering) with Napleton’s APA, MIPA, and the prospective contracts
with the non-VW Group manufacturers. This is more than enough to survive a
motion to dismiss; Audi’s factual disputes to the contrary are inapposite and ignored
at this stage. Nor does the Noerr-Pennington doctrine apply to bar state law claims;
if it did, any defendant could escape liability by beating the plaintiff to court. Audi’s
motion to dismiss should be denied in its entirety.

Finally, Napleton’s intervention motion should be granted, as the affiliates
hold the rights and interests in the APA and the MIPA at issue here, and their

presence completes “Napleton’s” intervention, granted several months ago.

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Dated: October 25, 2017

Respectfully submitted,

By:_/s/ Kathryn L. Simpson
Kathryn L. Simpson, Esq.

METTE, EVANS & WOODSIDE
3401 North Front Street
Harrisburg, PA 17110-0950

Phone: 717.232.5000

Fax: 717.236.1816

Email: ksimpson@mette.com

James M. Westerlind (pro hac vice)
Michael P. McMahan | ro hae vice)
David N. aye no hac vice motion to be filed)
ARENT F

1675 Broadway

New York, 10019-5874

Phone: 212.484.3900

Fax: 212.484.3990

Email: james. westerlind@arentfox. com
Email: michael.mcma han@arentfox. com
Email: david.wynn@arentfox.com

Attorneys for Intervenors

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CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.8
Pursuant to Local Rule 7.8(b), the undersigned hereby certifies that

Napleton’s Memorandum Of Law In Opposition To Audi’s Motion To Dismiss
Napleton’s Counterclaims And In Support Of Napleton’s Cross-Motion To Amend
Its Intervenor Complaint was prepared in Microsoft Word 2013 using 14-point
font.

On October 20, 2017, Napleton moved to extend its word limit under Rule
7.8 to 8,000 words, (Dkt. No. 295), and on October 23, 2017, the Court granted
that motion. (Dkt. No. 296.) The undersigned certifies that the above-referenced
Memorandum contains 7,179 words, according to Microsoft Word 2013’s word

count, including headings, footnotes, and quotations.

/s/ Kathryn _L. Simpson
Kathryn L. Simpson, Esquire

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CERTIFICATE OF SERVICE

I hereby certify that on October 25, 2017, I caused the foregoing document to be

sent to the following attorneys who have filed electronically through the Court’s
ECF system.

Thomas B. Schmidt, III, Esq. Randall L. Oyler, Esq.
schmidt @pepperlaw. com randall.oyler@bfkn.com
Tucker R. Hull, Esq. Owen H. Smith, Esq.
hullt@pepperlaw.com owen.smith@bfkn.com

. Brandon C. Prosansky, Esq.
Attorneys for Plaintiff brandon. prosansky@bfkn.com
VOLKSWAGEN GROUP OF Michael S. Elvin
AMERICA, INC. michael.elvin@bfkn.com

Caroline OR En
carrie.sear .cOM
Andrew M. Spangler
andrew. spangler@bfkn.com

Attorneys for Plaintiff
VOLKSWAGEN GROUP OF

AMERICA, INC.
Nicholas D. George, Esq. David C. Gustman, Esq.
ngeorge@swariz-legal.com dsustman Ofreeborn.com
Dennis eeoree Esq. Jill c. An Gpecbond:
eorge@arangiogeorge.com anderson@freeborn.com
J ei trey M. Scarfaria, Eso. ‘Hylan Smith, Esq.
Jeffi@scarfarialaw.com dsmith@freeborn. com
. Charles O. Beckley, II, Esq.
Attorneys for Plaintiff cbheckley@pa.net
BRONSBERG & HUGHES PONTIAC John G: Milakovic, Esq.
INS d/b/a WYOMING VALLEY jJohngm@pa.net
Attorneys for Plaintiff
BRONSBERG & HUGHES
PONTIAC INC. d/b/a WYOMING
VALLEY AUDI

By:_/s/ Kathryn L. Simpson

Kat L. Simpson. Esq.
METTE, EVANS & WOODSIDE
3401 North Front Street
Harrisburg, PA 17110-0950

Phone: 717.232.5000

Fax: 717.236.1816

Email: ksimpson@mette.com

Attorneys for Intervenors

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